Case 2:03-Cv-02582-.]PI\/|-tmp Document 42 Filed 07/26/05 Page 1 of 3 Page|D 57

WESTERN DISTRICT OF TENNESSEE

IN THE UNITED STATES DISTRICT COURT
F“_ED EY _____ D C.
WESTERN DIVISION

05 JUL 26 AH 8= 30

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G.EH<. U,S. Di‘$liil@l` COUT
W/D OF itt ?-.tE-`,SMS

HAE SOOK LEE, ANGIE HEE

JUNG LEE, INAE LEE,

OK YON CHI, MOO K. YUN;

and LYDIA SON
Plaintiffs/Counter-Defendants,

Civil No. 03-2582

v. McCalla/Pham

HEUNG-SHIK MIN, HYUNG

JOON MIN; and HOME OF

CHEERS CORP AKA HOUSE

OF CHEERS CORP
Defendants/Counter-Plaintiffs.

% Consent Order of Mutual Dismissal With Prejudice

It appears to the Court from the consent of the parties as indicated by the signatures of

VVW`_/V\_VVVVWWVV

 

counsel below that by way of a Settlement Agreement the parties have reached a compromise of
all of the claims and counterclaims filed in this action.

I'I` IS THEREFORE ORDERED that the claims of Plaintiffs against Defendants are
hereby dismissed with prejudice and the counterclaims of Defendants against Plaintif`fs are

hereby dismissed with prejudice. Each side is to bear its own costs.

/ ,_»--
IT ls so 0RDERED THIs 25 day of \J °'-[rr ,2005-

§§ mild

Jud Jon Phipps McCalla
U ted States District Judge

 

 

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Thle document entered on the docket sheet
wlth Hu|a 58 and,'or 79(a) FRCP on

 

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APPROVED AND CONSENTED BY:

WM)QQ_,YUr-., (w;mfv';$‘::_ 17

Johnny/Q. Rasberry, if (#19160) "">
LAW OFFICE OF JOHNNY RASBERRY

100 North Main Street, Suite 2909

Memphis, TN 38103

 

Counsel for Plaintiffs: Hae Sook Lee, Angie Hee Jung Lee, Inae Lee, Ok Yon Chi, Moo K. Yun,
and Lydia Son

%/%@

Paui Hl/iviorris (#20219)

MARTIN, TATE, MORROW & MARSTON, P.C.
International Place, Tower II

6410 Poplar Avenu_e, Suite 1000

Memphis, Tennessee 381 19-4843

(901) 522-9000

 

Anthony J. lacullo

Gabrielle N. Wright

IACULLO, MARTINO & MARZELLA
247 Franklin Avenue

P.O.Box110129

Nutley, New Jersey 071 10-0047

(973) 235-1550

Counsel for Defendants: Heung-Shil< Min, Hyung Joon Min, and Home of Cheers, Corp. a/k/a/
House of Cheers, Corp.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CV-02582 was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

ESSEE

 

Gabrielle N. Wright

IACULLO MARTINO & MARZELLA
247 Franklin Avenue

Nutley7 NJ 071 10

Johnny Quitman Rasberry

LAW OFFICE OF JOHNNY RASBERRY
100 N. Main St.

Ste. 2909

1\/lemphis7 TN 38103

Paul Howard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Anthony J. Iacullo

IACULLO MARTINO & MARZELLA
247 Franklin Avenue

Nutley7 NJ 071 10

Honorable J on McCalla
US DISTRICT COURT

